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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

WILLIAM SHIELL, IV and * CIVIL ACTION
JANET MARIE BROUSSARD SHIELL *
PLAINTIFFS *
* NO.
VERSUS *
* JUDGE
JOSEPH G JONES, BRIAN BERNS, *
KRISTINA SKOLD CLARK, and * MAG. JUDGE
DAVID F. WAGUESPACK *
*
DEFENDANTS *
* oe
* * * * * * * *
COMPLAINT

NOW COME INTO COURT, through the undersigned counsel, William Shiell, TV and
Janet Marie Broussard Shiell (hereinafter “plaintiffs” or “Mr. and Mrs. Shiell”) who for their
Complaint respectfully represent that:

1.

William Shiell, IV and Janet Marie Broussard Shiell are married to each other and are
dual US/Canadian citizens legally domiciled, since 1997, at 922 Rue Cherrier, in the city of
Montreal, province of Quebec, country of Canada. At the time of the events at issue in this
Complaint Mr. and Mrs. Shiell had an additional residence located at 3705 Rue Chardonnay
Drive, Metairie, Louisiana.

2.

The Whitney Bank is a bank now merged with Hancock Bank, located at 228 Saint
Charles Ave. in the parish of Orleans in New Orleans, Louisiana. Among its officers, employees,
or agents at relevant times for the purposes of this complaint were Joseph G. Jones, Brian Berns,

and Christina Skold Clark. The foregoing officers, employees, or agents were employed by the

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bank and head offices at the 228 Saint Charles Ave. location, which was the main branch of this
bank.
3.

Made defendant herein is Brian Berns, upon information and belief, a person of the age
of majority domiciled in the City of Covington, Parish of St. Tammany, State of Louisiana. At all
times relevant to this Complaint Mr. Berns served as a loan officer for the bank.

4,

Made defendant herein is Joseph G. Jones, upon information and belief, a person of the
age of majority domiciled in the City of New Orleans, Parish of Orleans, State of Louisiana. At
all times relevant to this Complaint Mr. Jones served as a loan officer for the bank.

5.

Made defendant herein is Christina Skold Clark, upon information and belief, a person of
the age of majority domiciled in the City of Kenner, Parish of Jefferson, State of Louisiana. At all
times relevant to this Complaint Ms. Clark served as outside counsel and as a notary public for
the bank.

6.

Made defendant herein is David Waguespack, upon information and belief, a person of
the age of majority domiciled in the City of New Orleans, Parish of Orleans, State of Louisiana.
Mr. Waguespack, at all times relevant to this Complaint, served as outside counsel to the bank,
appearing on the record for the bank, in both the state court executory process proceedings and in
the Bankruptcy proceedings of William Shiell, IV.

7.

Whitney National Bank offered a line of credit based upon receivables of up to $500,000

to Kitchen's International, Inc. in 2007. The line of credit was later increased to $540,000. When

the line of credit was originated, Joseph G. Jones, as a loan officer for Whitney bank, required, as

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a personal guarantee to the receivables financing, that William Shiell, IV and Janet Marie
Broussard Shiell encumber the Chardonnay property, which at that time was free of mortgage, as
additional collateral. The loan was agreed to be renewed on a yearly basis, with the additional
collateral and guarantee, as long as the interest only payments were made on time. Also, some of
the documentation generated over time by the bank indicated that the line of credit was for up to
$1.5 million, but regardless of the reason for this, whether to provide room for further lending or
simple error, the amount of credit actually extended and used was $540,000.
8.

Loan payments were made on time since the inception of the loan, with the exception of
several occasions when the bank overlooked withdrawing the payments from Kitchen’s Whitney
operating account at the usual time and had to be alerted by Janet Shiell that the payment had not
been taken as usual. However, in 2011 Kitchens suffered financial difficulties and incurred
considerable legal fees and expenses due to the non-payment of commissions owed to it by
various factories it represented, as well as for contracts Kitchens had performed in 2009 and
2010. The bank was advised of these problems and that litigation was in progress. Nonetheless,
the Shiells continued to pay the loan on time.

9,

In November, 2010, William Shiell, ['V was diagnosed with stage II (B): colon cancer. As
he was not yet 65 and did not have Medicare, he had to return to Canada for surgery and
additional necessary medical treatments. As he was completely incapacitated by the major
surgery in May 2011, chemotherapy, and resulting neuropathy, he was no longer able to
physically operate his business. William, although legally domiciled in Canada since 1997, was
also required to return full-time to his Canadian domicile for treatment. Although the business
suffered as a result of Mr. Shiell’s illness, the Shiells still continued to make the monthly interest

payments on time which the bank itself automatically deducted from Kitchens’ Whitney

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Operating account.
10.

The Hancock bank merged with Whitney. Unexpectedly, in 2012 at the annual July
signing of the renewal of the loan, the Shiells were advised that the bank no longer wanted to
accept only an unrecorded collateral mortgage but now wanted a recorded collateral mortgage on
the Chardonnay property. Mr. Jones assured the Shiells that this would actually benefit them as it
would give them more flexibility on their loan as the bank would be better secured and would
not question future renewals of the loan if they had more than sufficient security based on the
recorded mortgage in addition to the assets of the corporation.

11.

Although William Shiell, I'V, who was the sole owner of the Rue Chardonnay property,
was not obligated to sign this mortgage, as it had not been an original condition of the loan, he
complied in good faith believing that the bank would be flexible in the event his health or the
business did not improve. The Shiells were not advised that the bank would charge “costs” of
over $3,000 in mortgage and attorneys’ fees, nor did they agree to pay these fees or that these
fees could be withdrawn from Kitchens’ bank account at Whitney/Hancock. Had they been so
advised they would have refused to agree to anything other than renewing the collateral
mortgage that had existed since the 2007 signing. Nonetheless they were assured this mortgage
would protect their home and could be converted at anytime by the Shiells to a traditional
mortgage.

12.

On July 19, 2012, the Shiells met with Mr. Jones at Whitney Bank. They were presented
with certain documents for signature. The documents presented to them did not include the
promissory note dated September 10, 2012, the collateral mortgage and assignment of leases and

rents dated July 19, 2012, or the collateral note dated July 19, 2012. It was not until later

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bankruptcy proceedings, on or after October 23, 2015, the Shiells saw these documents for the
first time and gained their first knowledge that Mr. Shiell’s signature had been forged on those
documents. Additionally, the collateral note and the collateral mortgage and assignment of leases
and rents bear the signature of a notary public, who was not present at any point during the July
19, 2012 meeting to witness the execution of any document by Mr. or Mrs. Shiell. In fact, the
Shiells have never met or even seen the notary who signed the forged document. Additionally,
the collateral mortgage and assignment of leases and rents bears the signature of two witnesses
who purportedly were in the meeting on July 19, 2012 to witness the execution of documents,
but no such witnesses were actually present in the room at the time the Shiells signed any
documents.
13.

Prior to the 2012 meeting, in 2011 at the annual execution of documents, Mr. Jones was
initially informed of Mr. Shiell’s diagnosis of advanced cancer, of his May 2011 cancer surgery
and impending chemotherapy and other required medical treatment as it was understood at that
time. Interestingly, Mr. Jones responded to the Shiells that he already knew of Mr. Shiell’s illness,
although he never made the source of his information clear.

14.

At the July 19, 2012, meeting, Mr. Shiell further advised and updated Mr. Jones as to the
status of his illness and the ensuing problems with his chemotherapy. Mr. Shiell further explained
that he had almost died and had been in intensive care on two occasions because of the strong
chemotherapy he was undergoing and that he was further suffering an extremely painful
neuropathy as a result of the surgery as well as a condition commonly referred to as "chemo
brain", which causes problems with memory and reasoning ability. He also explained that his
pain was being treated with strong narcotics and other powerful mind altering drugs which made

it difficult for him to think and remember or to do something as simple as to walk in a straight

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line or drive. He also explained that, as of that time, he was now under the care of a pain
management doctor and currently being evaluated for additional surgery in an attempt to
alleviate his unbearable pain.
15.

Despite the difficulties encountered by the Shiells and Kitchens International, the Shiells
were not behind on the note when the 2012 note, if valid, would have expired in September 2013.
(Ex. ___, bank statement showing deduction of payment.) The bank had even deducted a
payment from Kitchens’ account in the month of September 2013. In any event, only after this
payment was taken did the bank call the entire note and give the Shiells only 30 days to pay the
entire note balance, which they were not financially able to do at that time. The Shiells then
asserted a prior promise by the bank to convert the line of credit to a regular consumer mortgage
on the Rue Chardonnay property, which would have substantially reduced their interest rate and
lowered their payments markedly, as they were paying a higher commercial rate of loan interest
instead of a mortgage rate. In response, Whitney Bank, as the only alternative, offered a
forbearance agreement dated November 1, 2013, which recited that Whitney Bank in fact
possessed a Promissory Note dated September 10, 2012 by Kitchens in the original principal
amount of $540,000. Specifically, the November 1, 2013 forbearance document lists among the
“Loan Documents” a “Note.” In turn, the term “Note” is defined thus:

The term “Note” shall mean that certain Promissory Note dated September 10,

2012 by Kitchens in the original principal amount of $540,000.00” (Ex.
November 1, 2013 Forbearance Agreement at p. 3.)

3

This recitation, which was false, and was known to be false at the time it was made, was
made for the express purpose of inducing the Shiells to execute the forbearance agreement. The
forbearance agreement of November 1, 2013, included specific release language and
reaffirmation language which would otherwise preclude the Shiells from asserting the invalidity

of the loan documents, some of which were forged as noted above. While the Shiells do not

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dispute executing the Forbearance Agreement dated November 1, 2013, it is their contention that
the knowing presentation of this agreement by Mr. Berns and the fraudulent inducement by
Whitney through Berns of the Shiell's to execute this agreement is but another act in furtherance
of the racketeering conspiracy in this matter.

16.

Later the Shiells, again as the only alternative to full payment, were offered another
forbearance agreement dated June 1, 2014. In form, the June 1, 2014, forbearance agreement is
in "amendment to forbearance agreement" referring to the earlier November 1, 2013 forbearance
agreement. This forbearance agreement actually bears the Shiells’ Canadian legal address of 922
Rue Cherrier, Montreal, Quebec, Canada in the body of the document. (Ex. _, June 1, 2014
forbearance agreement.)

17.

Again, the June 1, 2014, forbearance agreement contains language designed to preclude
the Shiells from ever asserting claims against Whitney for the wrongdoing of Whitney's
employees or agents. The language includes a reaffirmation of the language contained in the
original forbearance agreement dated November 1, 2013, and a specific agreement to release and
dismiss all claims presented in a federal court action “Janet Marie Broussard Shiell and William
Shiell IV v. Whitney National Bank (merged with Hancock Bank) and Brian Berns, one of its
loan officers and Joseph Jones, one of its loan officers, personally and corporately” bearing
docket number 2:14cv980-SM-JCW on the docket of the United States District Court for the
Eastern District of Louisiana.

18.

But for the mistaken and fraudulently induced belief that the Whitney/Hancock possessed

a valid, legitimate, and properly executed Promissory Note free of forgery or other fraudulent

entry of signature, the Shiells never would have executed the amendment to forbearance

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agreement on or about May 30, 2014.
19.

But for the original false language in the forbearance agreement, which was repeated via
inclusion of the reaffirmation language in the June 1, 2014, amendment to forbearance agreement,
the Shiells never would have dismissed their prior federal court action and in the due course of
litigation and discovery would have discovered the false and fraudulent signature on the
September 10, 2012 Promissory Note. It must be noted again that up to this point in time the
Shiells had yet to be provided with a copy of the September 10, 2012 Promissory note.

20.

In 2011 and prior years the Shiells were, as a matter of practice, given copies of all

documents signed or executed during a meeting at the bank. This was not done in July of 2012.
21.

A second extension of the forbearance agreement was contracted via a “Second
amendment to forbearance agreement” dated December 31, 2014, although it was actually signed
in January of 2015. (Ex. __, Second Forbearance Agreement.) This document was signed by Mr.
and Mrs. Shiell, but only after it was prepared by the bank, emailed to Canada, signed in Canada
by the Shiells, returned to the bank for signature by Berns in New Orleans, and then emails again
to Canada. Again the form of that amendment to the original forbearance agreement recites that
the Shiells are acknowledging and reaffirming the language of the original forbearance
agreement, thereby incorporating the language which specifically misled the Shiells into
believing that Whitney bank had a valid promissory note bearing theactual signature of Mr.
Shiell which could be enforced against them.

22.
During the existence of the Second Forbearance Agreement the Shiells sought other

financing so that they could pay off the bank and end an increasingly troubled financial

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relationship. As part of this effort, the Shiells sought a conventional mortgage from Reliance
Capital. Reliance Capital asked the Shiells for a note that was not expired and which reflected
their current indebtedness to the bank. The Shiells requested the necessary documentation from
the bank, but the bank never sent it to Reliance Capital. In May of 2015 Reliance Capital closed
the Shiells' application file when they could not provide a current note after two months of
requesting it and receiving no note document other than an expired note from a prior year. This
led the Shiells to complaint to the bank, asking why Berns would not cooperate. Berns refused to
speak to the Shiells. Instead, on May 28, 2015, a threat of foreclosure was sent to the Shiells.
Similarly, the Shiells tried to contact Waguespack, and all he would respond was that the Shiells
needed to have their attorney contact him, although he knew that they had no attorney on this
matter at that time as he had dealt directly with the Shiells concerning the forbearances and that
the litigation up to that point between the Shiells and the bank had been handled pro se by Janet
Shiell.
23.

On or about June 12, 2015, through defendant Waguespack, Whitney filed a petition for
executory process in the 24th judicial District Court for the parish of Jefferson which was
assigned docket number 750-576. Mr. Shiell was never served with this petition although David
Waguespack had been advised on numerous times by Mrs. Shiell that they were residing in
Montreal at 922 Rue Cherrier.

24.

The Shiells were unaware of the existence of this petition until late in August when they
were sent by certified mail to 922 Cherrier Street in Montreal a copy of the petition, with no
attachments, by an attorney, Rachel Silvers, who claimed to have been appointed as curator to
“find them” as the Whitney Bank did not know their whereabouts. Mrs. Shiell disputed this but

Ms. Silvers refused to discuss the process and said that she had done what was required of her

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and was not required to represent the Shiells any further other than to warn them that they had to
“do something” as they were about to lose their home.
25.

In an effort to save the property at issue, the Shiells contacted the judge who had heard
the executory petition by Whitney. He was kind enough to meet with them and have a
representative of the bank, David Waguespack, present. The judge and clerk of court were very
sympathetic, but the judge explained that a curator had been appointed due to the Bank’s claim
that the Shiells whereabouts were unknown and that the curator had made an answer for them.
The Shiells explained that the curator had not served them with the petition until months after the
petition had been filed and after it had even been heard and, further, that the curator had filed as
her only answer a simple blanket denial without details or supporting evidence, which the Shiells
could have produced, and without even speaking to the Shiells at all. She had apparently not
even requested a delay in order to speak with the Shiells before filing an answer which was
legally of absolutely no value. The judge then very kindly advised the Shiells that there was
absolutely nothing they could do now as this was an executory process that the bank had a right
to per the documents provided by the Bank in their petition.

26.

At that time, the Shiells had no idea of what the judge was talking about as they had been
sent no copies of the Bank’s loan documentation presented in the executory petition by Silvers.
But the judge just continued to gently explain to them that it was simply too late now for the
Shiells to do anything except to try to save their home through a bankruptcy petition and ask for
a stay on the sheriff’s scheduled October 2015 sale of their property. During this entire meeting
with the judge, Waguespack said nothing except to continue to falsely claim that the Bank had
the right to do what it had done and had done absolutely nothing wrong. At this time, the clerk of

court was looking at Waguespack as if she found him abhorent.

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27.

The judge then terminated the meeting as his court was in session and he needed to
continue with scheduled cases. The Shiells walked out of the courtroom and into an elevator with
David Waguespack and asked him directly why a curator had been appointed when he knew their
legal and residential address in Montreal and could have served them. He did not answer. They
then advised him that they had received no loan documents from Silvers. Again there was no
answer They then asked why they had not been provided with service of everything that had
been presented to the court during the executory process and what exactly was an executory
process. Waguespack simply refused to answer any of their questions and gave the Shiells the
same response that he always gave them “to have your attorney contact me”. He then walked out
of the elevator and quickly away from them to avoid any further questions. This indeed was a
strange response from an attorney who knew that the two lawsuits filed against the Bank, two of
its officers and himself by the Shiells had, in fact, been filed Pro Se by the Shiells, showing they
had no attorney representing them in this matter and that no attorney had taken part in the
preparation and acceptance of the the forbearance agreements. As well, the fact that the Shiells
had arrived at the court without legal counsel should have made the fact that they still had not
retained an attorney to represent them quite clear to him.

28.

At this point in time, Waguespack, in an apparent attempt to persuade the Shiells to not
examine the sequence of events or the substance of any documents too closely, wrote the Shiells
by email that they had been treated well by the bank.

29.

The Shiells then followed the judge’s advice and engaged a bankruptcy attorney in

September 2015. After several meetings with this attorney, Mr. Shiell declared bankruptcy in a

proceeding in the United States Bankruptcy Court for the Eastern District of Louisiana, "In re:

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William Shiell, 1V", bearing case Number 15-12556. This was a Chapter 13 bankruptcy
application for William Shiell IV who feared this would damage his credit, as it did, but he
simply had no choice given what the judge had explained to him and Silvers had warned him.
The bankruptcy application was filed early in October and included a motion for a stay to stop
the sheriff’s sale of the Chardonnay property, which motion was granted and the stay placed
stopping the sheriff’s sale that had been scheduled for that very month.

30.

On October 23, 2015, defendant Waguespack, acting on behalf of and in conspiracy with
the other defendants, filed a Motion for Relief from the Automatic Stay that had been granted
and had stopped the scheduled October 2015 Sheriff’s Sale of the Chardonnay property. This
motion was filed in the William Shiell, [V bankruptcy proceeding via the Bankruptcy Court’s
electronic ECF filing system over the Internet. It bears docket number 10 in the bankruptcy
proceeding, and attached to it is a series of exhibits which bear docket numbers 10-1, 10-2, 10-3,
10-4, 10-5, 10-6, and 10-7. Noteworthy among the documents attached as exhibit are the
documents with forged signatures including the Promissory Note dated September 10, 2012, the
Collateral Mortgage and Assignment of Leases and Rents dated July 19, 2012, and the Collateral
Note dated July 19, 2012. Additionally among the referenced exhibits are the Forbearance
Agreement and the two amendments to the Forbearance Agreement which were fraudulently
obtained through the false recitation that Whitney/Hancock possessed a valid and legitimate
Promissory Note. Finally, attached to The motion for relief from automatic stay as document 10-
1 is an affidavit from Mr. Brian Berns, which falsely recites under oath that the promissory note
dated September 10, 2012, the collateral mortgage and assignment of leases and rents dated July
19, 2012, and the collateral note dated July 19, 2012 were properly signed by Mr. and/or Mrs.
Shiell as indicated on the documents. Mr. Berns in his affidavit further indicates that the

forbearance agreements were in fact presented to the Shiells for execution as attached to the

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motion for relief from automatic stay. At the time Mr. Berns executed the affidavit in question,
due to the presence of the litigation caption on the affidavit and the ongoing litigation between
the Shiells and Whitney at that time, knew that his affidavit would be filed into the record of the
Bankruptcy Court for the Eastern District of Louisiana.

31.

Through the use of the forged documents, fraudulently obtained forbearance agreements,
and the false affidavit of Mr. Berns, Whitney/Hancock was successful in obtaining relief from
the bankruptcy stay such that it could pursue the executory process proceeding in the 24th
Judicial District Court and reschedule the Sheriff’s sale that had been stopped in October 2015.
(Ex. _, Insert date and docket number of relief from stay order.)

32.

In Whitney's motion papers to the United States Bankruptcy Court for the Eastern District
of Louisiana it was claimed by Waguespack that the Shiells did not need the Chardonnay
property because they had another house in Canada where they lived. Waguespack and
particularly Berns knew this to be false as they knew that Mr. Shiells stayed in the Chardonnay
property as needed, that he had medical treatments and surgery scheduled in the New Orleans
area and in Canada in 2014 and 2015. Jones had been advised on several occasions that specialty
procedures for Mr. Shiell were not all available in Canada and that he would have to return to the
U.S. from time-to-time for those treatments. A detailed fact which had been made known to
Jones was that the Chardonnay property was particularly useful because it had an elevator which
kept Mr. Shiell from having to climb stairs, which was particularly painful given the neuropathy
he was suffering in his legs. Another, view of the claims is that the bank knew where the Shiells
were in Canada and any claim that they could not locate them to serve them was false.

33.

On more than one occasion Whitney/Hancock and/or Mr. Waguespack had been informed

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how to locate the Shiells in Canada and transmit documents to them as needed. Indeed, Mr.
Waguespack had sent to the Shiells, in Canada, letters about the sheriff’s sale and a notice to
vacate. As previously noted above in this complaint, the actual reason for the Shiells continued
presence in Canada, to wit, medical treatment for Mr. Shiell’s advanced cancer, was well known
to Whitney/Hancock and its agents, employees, and attorney. In particular, defendant
Waguespack knew that the Shiells were not in the New Orleans area, or the state of Louisiana,
because he had transmitted the forbearance agreement to the Shiells via email in Canada for
execution in Montreal. Brian Berns and Waguespack (who was furnished a copy of the Berns
April 2014 letter by Berns) had also been notified in the letter of dated April 26, 2014 of William
Shiell’s continuing need for medical treatment in Canada and the Shiells residence in Canada in
April 2014. As well, a lawsuit filed against the Bank, Jones and Berns dated April 30, 2014 also
reflected that the Shiells' legal residence was 922 Cherrier Street in Montreal, Quebec, Canada.
Despite this knowledge on or about July 1, 2015, Defendant Waguespack had sought an order
from the 24th judicial District Court appointing a curator ad hoc without making any actual
attempt to serve the Shiells at their legal residence in Canada via long arm service. This resulted
in attorney Rachel I. Silver's being appointed as curator ad hoc. Curiously, when Ms. Silvers
provied teh citation, notice of seizure and petition, as well as the curator’s answer to the Shiells
via certified mail, she did not provide the exhibits or attachments to the pleadings.
34,

The first time the Shiells saw the three forged documents at issue in this matter was when
they were served with the Motion for Relief from Bankruptcy Stay filed on or about October 23,
2015, in the bankruptcy court for the Eastern District of Louisiana. As non-ECF filers they were
provided these documents via mail, receiving them at some point in time in the week to ten days
after their filing on October 23, 2015. After receiving the documents via mail, in due course the

Shiells researched the mortgage and conveyance records in the 24" Judicial District Court and

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learned that the forged documents had been filed into the public record there.

35.

The foregoing actions constitute a violation of the racketeering influenced corrupt

organizations act 18 USC Section 1962 et seq, including the creation and operation of an

enterprise in fact, acquisition of control of an enterprise, and/or conspiracy to violate the RICO

statute and to commit racketeering violations and predicate acts. The specific predicate acts

committed in violation of the federal racketeering statute include the following:

1.

Wire fraud to Canada — Berns response letter to Janet Shiell’s April 24, 2014 letter sent by E-
mail dated May 1, 2014 referring the Shiells to contact only Waguespack.

Wire fraud to Canada — May 12, 2014 E-mail to Janet Shiell from Waguespack re: Berns
letter and suggesting that a forbearance might be negotiated.

Wire fraud to Canada — particularly the transmission of the original forbearance agreement
and two amendments to it.

Wire Fraud to Canada. Letter from Waguespack dated May 28, 2015 to Shiells fraudulently
claiming that the bank holds a valid promissory note dated September 10, 2012 by borrower.
Wire fraud via filing electronically with the federal bankruptcy court — Motion for Relief
From Automatic Stay,

Wire fraud via filing electronically with the federal bankruptcy court — Objection to Plan (Ex.
___, Bankruptcy Docket no. 26 and all exhibits, Doc. Nos. _ through _)

Mail fraud to Canada — notice to vacate premises dated March 22, 2016 sent by Waguespack.
Mail fraud to Canada — letters concerning sheriff’s sale

Mail and Wire fraud to Canada — Notification packet by Ms. Silvers sent by certified mail
August 11, 2015 in her capacity at curator ad hoc and also later e-mailed to Janet Shiell in
Canada at shielljanet@gmail.com.

36.

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The foregoing actions constitute a violation of the Louisiana racketeering statute through
the creation, Operation and conspiracy to operate a racketeering enterprise. Be specific predicate
ask committed in violation of the Louisiana racketeering statute include the following:

1. Theft by fraud

2. Creation of false public records — original filings in mortgage records, not discovered
until after documents produced in Bankruptcy and then researched/presence in records
confirmed

3. Creation of false public records — filings in the executory process action — list each filing
and or hearing at which a false record was used or a false transcript created through

argument based on a false document

37.

As a result of the racketeering violations by the defendants in this action, the Shiells have
been injured in their property through the ultimate seizure and sale of the three story property
located at 3705 Rue Chardonnay, Metairie, Louisiana (which property contained an elevator
essential to his ability to avoid stairs he could no longer climb which also extremely aggravated
his neuropathy pain in his legs - pain increased greatly since he no longer has a home with an
elevator in it.).

38.

This court has subject matter jurisdiction over this action pursuant to 18 USC section
1964, 28 U.S.C. §1367, and 28 U.S.C. §1332.

39.

Venue is proper in this judicial district pursuant to 18 USC § 1965 and 28 USC § 1391
because defendants are subject to personal jurisdiction in this judicial District Court and reside in

this district. Additionally, many of the events which gave rise to liability in this action occurred

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within this judicial district.
40.
As a result of racketeering actions in violation of federal and state law, the plaintiffs have
suffered the following injuries and damages:
1. Loss of the Chardonnay property, its value, and its useful value to the Shiells.
2. Loss of the personal property which the Shiells were unable to remove from the
Chardonnay property due to Mr. Shiell's illness and/or time limitations and expense.
3. The expense of moving and storing the personal moveable property the Shiells were able
to remove from the Chardonnay property.
4, Travel and lodging expenses to stay in hotels and travel to and from Canada to Metairie

for medical treatments and legal meetings after the bank illegally had the Shiells' property

seized, sold, and the Shiells evicted.

5. The costs of the pro se lawsuits filed in attempts to stop the illegal proceedings based on
forgeries.

6. Increased neuropathic pain for Mr. Shiell caused by stress and strain secondary to the loss
of property.

7. Costs of the bankruptcy which had to be canceled when the bank refused the plan and
was able to lift the stay through false allegations and costs to travel to and from Canada
to meet with the bankruptcy attorney and attend meetings.

8. Loss of the fruit orchard, landscaping, and related expenses related to improvements to
the Chardonnay property lost when the property was seized and sold.

9. Damage to credit caused by the seizure and sale of the property, with the resulting loss of
credit in Canada.

10. Attorney's fees and court costs for prosecution of this action.

11. Any other damages that may be shown at the trial of the merits.

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WHEREFORE, William Shiell, [V and Janet Marie Broussard Shiell, prays that, due
proceedings be had and that there be judgment herein in favor of William Shiell, IV and Janet
Marie Broussard Shiell and against the LIST ALL DEFENDANTS, defendant, for such sums as
the Court should deem reasonable and proper, including general damages, statutory damages,
punitive damages, and attorney’s fees, together with legal interest thereon from date of judicial
demand until paid, plus all costs of these proceedings as defined or provided for by the Federal
Rules of Civil Procedure and the particular statutes under which this action has been filed, and
for such other legal and equitable relief as the Court shall deem necessary and proper.

Respectfully Submitted,

PGE BLE

DONALD L. HYATT, II (24968)
DONALD L. HYATT, IT APLC

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COUNSEL FOR THE PLAINTIFFS

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

WILLIAM SHIELL, IV and * CIVIL ACTION
JANET MARIE BROUSSARD SHIELL *
PLAINTIFFS *
* NO.
VERSUS *
* JUDGE
JOSEPH G. JONES, BRIAN BERNS, *
KRISTINA SKOLD CLARK, and * MAG. JUDGE
DAVID F. WAGUESPACK *
*
DEFENDANTS *
*
* * * * * * * *

VERIFICATION DECLARATION

STATE OF LOUISIANA
PARISH OF ST. TAMMANY

Pursuant to the provisions of 28 U.S.C. §1746, I, William Shiell, IV, verify under penalty
of perjury under the laws of the United States of America that I have personal knowledge of the
following, and it is true and correct to my personal knowledge and belief
1. That he is the Plaintiff in the captioned case; that
2. That he has read the above and foregoing Complaint, and all of the exhibits thereto and;
that the allegations and exhibits contained therein are true and correct.

This Declaration is based on my personal and direct knowledge and it is signed by me,

William Shiell, IV , this 11th day of January, in the year 2019, in Covington, Louisiana.

Ldoo. Soa ®

WILLIAM SHIELL, IV

 

Complaint of William Shiell, ['V and Janet Marie Broussard Shiell
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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

WILLIAM SHIELL, IV and * CIVIL ACTION
JANET MARIE BROUSSARD SHIELL ‘
PLAINTIFFS *
* NO.
VERSUS *
* JUDGE
JOSEPH G. JONES, BRIAN BERNS, *
KRISTINA SKOLD CLARK, and * MAG. JUDGE
DAVID F. WAGUESPACK *
*
DEFENDANTS *
*
* * * * * * * *

VERIFICATION DECLARATION
STATE OF LOUISIANA
PARISH OF ST. TAMMANY
Pursuant to the provisions of 28 U.S.C. §1746, I, Janet Marie Broussard Shiell, verify
under penalty of perjury under the laws of the United States of America that I have personal

knowledge of the following, and it is true and correct to my personal knowledge and belief
1. That she is the Plaintiff in the captioned case; that
2. That she has read the above and foregoing Complaint, and all of the exhibits thereto and;
that the allegations and exhibits contained therein are true and correct.

This Verification Declaration is based on my personal and direct knowledge and it is
signed by me, Janet Marie Broussard Shiell , this 11th day of January, in the year 2019, in Cov-

ington, Louisiana.
CJANET MARIE BROUSSARD SHIELL

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